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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                   §
                                           §
vs.                                        §      CASE NO. 4:23-CR-218-1
                                           §
(1) HARDIK JAYANTILAL PATEL,               §
                                           §
        Defendant.                         §

                                       ORDER

      The Government’s Motion to Dismiss Counts Two through Seven of the Criminal

Indictment without prejudice is GRANTED.

      Signed at Houston, Texas, on __________________________, 2025.


                                                 ______________________________
                                                 Hon. Andrew S. Hanen
                                                 United States District Judge




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